         Case 1:20-cv-02507-TCB Document 55 Filed 09/07/21 Page 1 of 7




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF
                        ATLANTA GEORGIA DIVISION --~wrii~omGr-




Melvin Robertson

plaintiff pro se




                                                    CIVIL ACTION FILE

                                                  NO 1:20-CV-2507-TCB



V.
                                                 JURY TRIAL DEMAND
CLAYTON COUNTY- GEORGIA
POLICE DEPARTMENT,et ai,

Defendants

     DEFENDANTS KEISHA LANCE BOTTOMS, and ERIKA SHIELDS

          OBJECTION THE JUDGE ORDER THE ON GROUND

     OF BAD FACE BY THE COURT AND THIS JUDGE ORDER

GROUND CONFLICT OF INTEREST UNCONSTITUTIONAL, THE
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 JUDGER ACTION PUT THE PLAINTIFF IN DANGRE.

 NO JUDGE OF EMPLOYEE OF UNITED STATE

GOVERNMENT SHOW BIAS because UNITED STATE judge

Charles A Pannell Jr. and UNITED STATE judge Steve C. JONES,

U.S.D.C. CLERKS JAMES N HATTEN, former U.S.D.C. CHIEF

JUDGE Thomas W. Thrash JR, and the Plaintiff wrote a letter to chief

judge Thomas W. Thrash and tell him that the was IMMINENT

DANGER on page 2 of 6 paragraph 2 The Plaintlff as the for help with

paralegal and typist REQUEST FOR      APPOINTMENT OF COUNSEL ,

Case 1:20-cv-02507-TCB Document 13 Filed Page 1 of 1, 2 of 2 and the

06/30/20 JUN 09/2021, Jun 09/2021 Document 31:21-cv-1468-TCB

plaintiff ask for the court for EMERGENCE HEARING page second

paragraph because was in IMMINENT DANGER and the plaintiff ask for

Access to protective be the U.S. Marshal service, the Plaintiff just got


out the DeKalb Medical Hospital because deputy Clerk and UNITED

STATE judge Timothy C. Batten Sr. made funny of the Plaintiff filed
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App.28-2021 Document NO 1:20-CV-2507-TCB page 1 for the fact keep

getting just I was threatened by a young man and get injured at

starbucks coffee on Peachtree in Buckhead employee Someone put

something in the Plaintiff coffee. Bad faith U.S. D.C. judge Timothy

C. Batten Sr, Reginald C. Martin Sr,. Social Security Administration.

The U.S Attorney office Northern of GA. U.S. District court clerk

office, State of GA. Clayton County GA. for over eighteen years the

Plaintiff be under attack and for two years the Plaintiff withheld

medical treatment site Hill v. Dekalb Reg'l Youth Det. Ctr., 40 F.3d

1176, 1187 (11th Cir 1994) this allow private citizens to

attack the Plaintiff miscarry of justice.

The hospital at DeKalb Medical on 08-21-2021 because someone

put something in the Plaintiff coffee was injured put in danger the

Plaintiff has nerve damage on the left side, back upper and lower

shoulder and arm left hip. The fact U. S. judge Timothy C. Batten Sr. a
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long with the U.S. Attorney for Northern GA. and the Because fort

two years the Plaintiff has deprived of getting a MRI on the

Plaintiff Grady hospitals EMERGENCE refused to do one and the

Plaintiff PrimaryDoctors all refused to order an MRI on the

plaintiff's back and the Plaintiff continues to be in pain. Lumbar disc

Herniation continues to be in pain site Estelle, 429 U.S. at 104; Jett v.

Penner, 439 F. 3d 1091, 1096 (9th Cir. 2006) because The plaintiff went

to Grady Hospital health care the on around about 08/16/

2019emergency room three day in roll the just had injured his back at

work and all the primary doctor Morehouse keep change the Plaintiff

doctors, all said that go back to work Refused give the MRI these

folks this court help prevent the plaintiff from getting medical

treatment of his back UNITED STATE judge Timothy C. Batten Sr.,

Social Security Administration suite 2860 FLR 28 401 W. Peachtree

ST NW Atlanta, GA. and The U.S. Attorney Office deprived the of
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getting Medical treatment by prevent the of getting survivor benefit for

social security by not allow the PlaintiffMedicare because the Social

Security Administration and Grady Hospital emergency room and

primary care doctors know that had Lumbar disc herniation site Hill v.

Dekalb Reg'l Youth Det. Ctr., 40 F.3d 1176, 1187 (11th Cir 1994) for

over eighteen years the Plaintiff under attack by State of Georgia and

Clayton police dept. judge Charles A Pannell Jr. , Deputy clerk and

UNITED STATE judge Steve C. JONES, and Bad faith U.S. D.C.

judge Timothy C. Batten Sr, Reginald C. Martin , he Social Security

Administration, Behavior Health services Miss Winn I got Olanzapine

tablets 5mg Gabapentin 300 mg cause dizziness the Plaintiff went

because back Lumbar disc herniation was denied seeing orthopaedic

violated the Plaintiff constitution never see the same doctors at Grady

Health care because former Gov. Deal and Rev. Warnock, back pain that

had and has nerve damage on the left side, back upper and lower and
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shocking go down left leg dizziness, shoulder and arm pin, left hip. In

pain All day long and at night too I get two to three hour sleep, I'm

batting major depression disorder case 1;20-cv-04967-TCE Document

14 paragraph 1-2 page 2 of 35 page 3 paragraph 1 Defendants complaint

and DEFENDANTS KEISHA LANCE BOTTOMS, and ERIKA SHIELDS,

The Plaintiff had no way to get a case without this site Jensen V. Snelling

Supra,841 F.2d 606-07 and stark v. Dynascan Corp., 902

F.2d 549, 551 (7th cir. 1990)These folks gave the plaintiff these law


cases and    made sure Stop the plaintiff medical treatment help

plotted with Grady hospital Why did the U. D. C. GA. and Pres.Joe

Eiden went to Gwinnett County GA. PRE. Eiden wants REV Warnock

win as U.S. senators sat in Georgia, The Plaintiff right was violated

 retaliation from 08/17/2004 to 08/21/2021 U.S. Attorney office Sally

Yates and U.S. Attorney under constitution to allow state of Georgia site

city of Atlanta, GA. U.S.D.C of Northern Ga. allow government thLopez

v. Youngblood, 609 F. Supp. 2d 1125 (E. D. Cal. 2009)
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